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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet l



                                          UNITED STATES DISTRICT COURT
                                                       Eastern District of Pennsylvania
                                                                          )
              UNITED STATES OF AMERICA                                    )        JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                       STACY GALLMAN                                      )
                                                                          )        Case Number: DPAE2:20CR000298-001
                                                                          )        USM Number: 09802-509
                                                                          )
                                                                          )         Andrew Moon
                                                                          )        Defendant's Attorney
THE DEFENDANT:
D pleaded guilty to count(s)

D pleaded nolo contendere to count(s)
  which was accepted by the court.
~ was found guilty on count(s)           1
                                       ----'-----------------------------------
  a fter a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended               Count
18:922(g)(1)                      Possession of a firearm by a felon                                        12/27/2019                    1




       The defendant is sentenced as provided in pages 2 through               7         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

• Count(s)     -----------
                                                        Dis       Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defeni:lant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                          10/19/2021

                                                                                                                                 --
                                                                                          Hon. Karen Spencer Marston , USDJ
                                                                        Name and Title of Judge


                                                                                                          10/19/2021
                                                                        Date
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AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 - Imprisonment
                                                                                                  Judgment - Page      2   of   7
DEFENDANT: STACY GALLMAN
CASE NUMBER: DPAE2:20CR000298-001

                                                           IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:
  42 months as to count 1 of the indictment.




      ~ The court makes the following recommendations to the Bureau of Prisons:
             The Court recommends that defendant be designated to an institution in close proximity to Philadelphia where his
             family resides .




     lill   The defendant is remanded to the custody of the United States Marshal.

     0 The defendant shall surrender to the United States Marshal for this district:
            0 at                                 0 a.m.       0 p.m.       on
                    ---------
            0 as notified by the United States Marshal.

     0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            0 before 2 p.m. on
            0 as notified by the United States Marshal.
            0 as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




            Defendant delivered on                                                     to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                              UNITED STATES MARSHAL



                                                                          By   ------=--------c--cc=c---------=--=-=~-----
                                                                                          DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                        Judgment-Page______]     of       7
DEFENDANT: STACY GALLMAN
CASE NUMBER: DPAE2:20CR000298-001
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

     3 years.




                                                      MANDATORY CONDITIONS
1.     You must not commit another federal, state or local crime.
2.     You must not unlawfully possess a controlled substance.
3.     You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days ofrelease from
       imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
4.      D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check ifapplicable)
5.      ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.      D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.      D You must participate in an approved program for domestic violence. (check ifapplicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                               Judgment-Page         4        of         7
DEFENDANT: STACY GALLMAN
CASE NUMBER: DPAE2:20CR000298-001

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date
                                                                                                                ------------
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3B - Supervised Release
                                                                                           Judgment-Page    5     of       7
DEFENDANT: STACY GALLMAN
CASE NUMBER: DPAE2:20CR000298-001

                                      ADDITIONAL SUPERVISED RELEASE TERMS

 The defendant shall refrain from the illegal possession and/or use of drugs and shall submit to urinalysis or other forms of
 testing to ensure compliance. It is further ordered that the defendant shall participate in drug treatment and abide by the
 rules of any such program until satisfactorily discharged.
 The defendant shall participate in a program at the direction of the probation officer aimed at learning a vocation or
 improving the defendant's education level or employment skills in order to develop or improve skills needed to obtain and
 maintain gainful employment. The defendant shall remain in any recommended program until completed or until such time
 as the defendant is released from attendance by the probation officer.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                        Judgment -   Page       6    of        7
 DEFENDANT: STACY GALLMAN
 CASE NUMBER: DPAE2:20CR000298-001
                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment               Restitution                Fine                  AVAA Assessment*               JVTA Assessment**
TOTALS            $    100.00               $                          $                     $                              $



 D   The determination of restitution is deferred until _ _ _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa)'I!!ent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                  Total Loss***                 Restitution Ordered            Priority or Percentage




TOTALS                               $                          0.00              $                    0.00


D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the             D fine       D restitution.
      D the interest requirement for the           D    fme     D restitution is modified as follows:

* Amy, Vickyz ::ind Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for victims of Trafficking Act of2015, Pub. L. No. 114-22.
*** Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments
                                                                                                           Judgment - Page   7     of         7
 DEFENDANT: STACY GALLMAN
 CASE NUMBER: DPAE2:20CR000298-001

                                                        SCHEDULE OF PAYMENTS
 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     Ill    Lump sum payment of$ ~ ~ ~ - - - due immediately, balance due
                                  100.00

             •      not later than                              , or
             liZI   in accordance with   •    C,    D D,     D E,or       liZI   F below; or

B     D Payment to begin immediately (may be combined with              D C,         D D, or     D F below); or
C     D Payment in equal           _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
                           (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal           _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                           (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E     D Payment during the term of supervised release will commence within _ _ _ _ _ (e.g.,          30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     !ill   Special instructions regarding the payment of criminal monetary penalties:
              The special assessment is due immediately , It is recommended that the defendant participate in the BOP inmate
              financial responsibility program and provide a minimum of $25 per quarter towards the special assessment. If the
              entire amount is not paid prior to the commencement of supervision the defendant shall satisfy the amount due in
              monthly installments of not less then $25 , to commence 30 days after release from confinement.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal mone!ary penalties is due during
the period of imprisonment. All criminal monetary penafiies, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                 Joint and Several               Corresponding Payee,
      (including defendant number)                       Total Amount                       Amount                         if appropriate




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

Ill   The defendant shall forfeit the defendant's interest in the following property to the United States:
      one Glock, model 30, .45 caliber semiautomatic pistol, bearing serial number DSE775US; Thirty-one live rounds of
      ammunition; and any and all other ammunition;

PaYJ!lents shall be a_pplied in the following order: (1) assessment, (2) restitution princpal, (3) restitution interest, (4) AVAA assessment,
(SJ fine principal, (fi) fine interest, (7) community restitution, (8) NTA assessment, (Y) penalties, and (IO) costs, mcluding cost of
prosecution and court costs.
